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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          10/20/2020
---------------------------------------------------------------------- X
                                                                       :
RALF HARTMANN,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-CV-5778 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
GOOGLE LLC and YOUTUBE LLC,                                            :   REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan.        As set by separate Order issued today, the Court will hold a Pre-Motion

Conference on October 30, 2020, at 11:00 a.m. In light of the ongoing COVID-19 pandemic, the

Court will conduct the conference by teleconference. At the scheduled time, counsel for all parties

should call (866) 434-5269, access code 9176261. Absent leave of Court obtained by letter-motion

filed before the conference, all pretrial conferences must be attended by the attorney who will serve

as principal trial counsel.

        In accordance with the Court’s Individual Rules and Practices for Civil Cases, requests for

extensions or adjournment may be made only by letter-motion filed on ECF and must be received

at least 48 hours (i.e., two business days) before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the
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number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 20, 2020                            __________________________________
       New York, New York                                   JOHN P. CRONAN
                                                          United States District Judge




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